87 F.3d 1308
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Turone Lamont LEA, I, Petitioner-Appellant,v.Daniel T. MAHON, Respondent-Appellee.
    No. 96-6108.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 16, 1996.
    Decided June 5, 1996.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.   David G. Lowe, Magistrate Judge.  (CA-95-49-3)
      Turone Lamont Lea, I, Appellant Pro Se.  Robert H. Anderson, III, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, Virginia, for Appellee.
      E.D.Va.
      DISMISSED.
      Before RUSSELL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the magistrate judge's order denying relief on his 28 U.S.C. § 2254 (1988) petition.*  We have reviewed the record and the magistrate judge's opinion and find no reversible error.   Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the magistrate judge.   Lea v. Mahon, No. CA-95-49-3 (E.D.Va. Dec. 19, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         The parties consented to disposition by a magistrate judge pursuant to 28 U.S.C. § 636(c) (1988)
      
    
    